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  8                      UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
 10    SAMUEL AMADOR, JR.,                    Case No. 5:20-cv-1575-JWH (MAR)
 11                          Plaintiff,
 12                     v.                    JUDGMENT
 13    COUNTY OF SAN BERNARDINO,
       ET AL.,
 14
                             Defendant(s).
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Case 5:20-cv-01575-JWH-MAR Document 13 Filed 10/05/21 Page 2 of 2 Page ID #:41




  1         Pursuant to the Order Accepting Findings and Recommendation of United
  2   States Magistrate Judge,
  3         It is hereby ORDERED, ADJUDGED, and DECREED that this action is
  4   DISMISSED without prejudice.
  5         IT IS SO ORDERED.
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  7   Dated: October 5, 2021
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  9                                       United States District Judge
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